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                           UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF MASSACHUSETTS

                                   WESTERN DIVISION

                                                           Civil Action No. 13-CV

 _________________________________________
ERICK DEJESUS,                                        ) PLAINTIFF’S FIRST AMENDED
                                                      ) COMPLAINT & DEMAND FOR
                Plaintiff,                            ) JURY TRIAL
        vs.                                           )
                                                      )
CITY OF HOLYOKE,                                      )
DETECTIVE WILLIAM DELGADO, Individually )
and in his official capacity as a Police Officer for )
the City of Holyoke,                                  )
OFFICER LEAHY,                                        )
Individually and in his official capacity as a Police )
Officer for the City of Holyoke,                      )
TROOPER VALENTINI and other responding                )
officers individually and in his/their official       )
capacity as a Trooper for the Commonwealth of         )
Massachusetts,                                        )
                                                      )
                Defendants.                           )



              NOW COMES the Plaintiff, Erick DeJesus, and does hereby bring the following

       Complaint in the above-captioned matter. Plaintiff demands a jury trial.



                                    INTRODUCTION



              1.              This action is brought pursuant to 42 U.S.C. Section 1983, arising

                           out of an incident of police brutality and excessive force whereby

                           the plaintiff, Erick DeJesus was unjustifiably hit, pushed, kicked and

                           severely beaten by officers with unknown objects resulting in injury




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                      after defendant officers stopped plaintiff on Route 5, West

                      Springfield. The brutal beating by officers resulted in plaintiff’s

                      inability to open his jaw, multiple contusions and lacerations to his

                      head, neck, ribs, knee, back and face as well as a concussion

                      together with headache and blurred vision. Defendants further

                      denied plaintiff medical treatment and plaintiff continued to suffer

                      lingering blurred vision and headaches well after the incident.

                      Defendants are jointly and severally liable for violating plaintiff’s

                      rights under the Constitution of the Commonwealth of

                      Massachusetts and under the United States Constitution and for all

                      injuries he sustained as a result of the constitutional violations.



                               JURISDICTION AND VENUE



            2.          Jurisdiction of this Court is invoked pursuant to 28 U.S.C.

                      Sections 1331 and 1343 together with statutory and Constitutional

                      provisions. Pendant and supplemental jurisdiction is invoked for

                      this Court to decide claims that may arise under the laws of the

                      Commonwealth of Massachusetts. This Court has jurisdiction over

                      all civil actions arising under the Constitution, laws, or treaties of

                      the United States.



            3.          Venue pursuant to 28 U.S.C. Section 1391 is properly placed in

                      the District Court because it is where all the parties reside and where

                      the events complained of occurred, namely, Route 5, near West



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                      Springfield, in the City of West Springfield, County of Hampden

                      and the Commonwealth of Massachusetts.



                                      PARTIES



            4.          Plaintiff, Erick DeJesus, is a citizen of the United States and a

                      resident of the Commonwealth of Massachusetts, in the County of

                      Hampden, in the city of Holyoke.

            5.          At all times relevant to this Complaint, defendants, Detective

                      William Delgado and Officer Leahy, were sworn members of the

                      City of Holyoke Police Department and were acting in such capacity

                      as agent, servant and employee. Each of the foregoing defendants is

                      being sued in their individual and official capacity. Each of the

                      foregoing defendants were acting under color of state law.

            6.          Defendant City of Holyoke is a municipal corporation located in

                      Hampden County, Massachusetts. At all material times hereto, the

                      City of Holyoke was the public employer of defendants Delgado and

                      Leahy, police defendants. The City of Holyoke is responsible for

                      the proper functioning of the police department and for ensuring that

                      all officers on the police department are properly supervised and

                      trained to interact with members of the public without violating their

                      rights under the constitutions of the United States of America and

                      the Commonwealth of Massachusetts. It is also responsible for

                      preventing and eliminating all policies and practices that allow or




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                      encourage police officers to violate the constitutional rights of

                      members of the public with whom they interact.

            7.        At all times relevant to this Complaint, defendant, Trooper Valentini

                      was a sworn member of the Massachusetts State Police Department

                      and was acting in such capacity as agent, servant and employee.

                      The foregoing defendant is being sued in his individual and official

                      capacity. The foregoing defendant was acting under color of state

                      law.



                                        FACTS



            8.          On or about Tuesday, July 6, 2010, plaintiff was shopping at the

                      Almonte Market in the City of Holyoke, in the Commonwealth of

                      Massachusetts.

            9.          On or about Tuesday, July 6, 2010, without incident and while

                      watched by defendant Delgado, plaintiff left the Almonte Market in

                      the City of Holyoke, entered his lawfully parked black car and drove

                      away.

            10.         On or about Tuesday, July 6, 2010, defendant Delgado was

                      looking for a black car in the area due to a call he received from

                      another officer, Officer Brach, where it was alleged that a weapon

                      might be found.

            11.         Without other reason, defendant Delgado followed plaintiff out of

                      the City of Holyoke, onto Route 91, onto Route 5, where Defendant

                      Delgado was joined by Defendant Leahy, Trooper Valentini and



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                      other members of the Massachusetts State Police, Holyoke and West

                      Springfield Police Departments.

            12.         Defendants and other officers took plaintiff into custody on or

                      about July 6, 2010, by dragging plaintiff out of his car and slamming

                      him to the pavement all while intentionally and repeatedly striking

                      plaintiff about his head, face, jaw, neck, back, ribs, arms with

                      unknown objects in a willful, malicious manner thereby committing

                      a battery on the plaintiff and inflicting injuries including but not

                      limited to profuse bleeding lacerations, contusions, concussion,

                      blurred vision, headache and the inability to open his jaw.

            13.         There was no weapon in the car, plaintiff was unarmed and

                      helpless and in no way posed a threat to defendants Delgado, Leahy

                      and Valentini or other responding officers.

            14.         Upon booking at the Holyoke Police Department and although

                      plaintiff was visibly injured, he was not offered medical treatment

                      and was not treated by medical personnel until he was released and

                      sought help on July 8, 2010.

            15.         Plaintiff continued to seek medical treatment due to lingering

                      headaches and blurred vision.

            16.         Plaintiff was physically abused without just and legal cause,

                      thereby violating his rights under the laws of the Constitution of the

                      United States, in particular the Fifth and Fourteenth Amendment,

                      and his rights pursuant to the Massachusetts Declaration of Rights

                      were further violated.




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            17.          In committing the physical abuse on the plaintiff, defendants

                      Delgado, and Leahy, violated the rules and regulations of the

                      Holyoke Police Department regarding the use of such excessive

                      force.

            18.          In committing the physical abuse on the plaintiff, defendant

                      Trooper Valentini violated the rules and regulations of the

                      Massachusetts State Police regarding the use of such excessive

                      force.

            19.          During the apprehension and on or about July 6, 2010, plaintiff

                      was denied rights afforded to him by the Declaration of Rights

                      promulgated by the Commonwealth of Massachusetts and the

                      Constitution of the United States of America. Events which

                      constituted a denial of said rights included by were not limited to:

                      physical abuse where multiple areas of his person were beaten at the

                      time of arrest resulting in lacerations and bruising necessitating

                      medical treatments.

            20.          Defendants further denied plaintiff treatment for the injuries

                      caused by defendants’ own acts.

            21.         On August 1, 2011, Velis, J., entered an Order

                     allowing plaintiff’s Motion to Suppress Evidence due to defendants

                     illegal search, seizure and unlawful Terry stop.

            22.         On November 9, 2011, the Commonwealth of Massachusetts filed

                      a Nolle Prosequi, an Order of Nolle Prosequi was entered and the

                      charges against plaintiff were dismissed with prejudice.




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            23.          On or about September 19, 2013, and after plaintiff filed the instant

                         action, defendant Delgado was driving in a Toyota nearby Plaintiff

                         and his family in the vicinity of Chestnut Street, in the city of

                         Holyoke, in the Commonwealth of Massachusetts.

            24.          On or about September 19, 2013, and as part of a continuing pattern

                         of ill-will against plaintiff, defendant Delgado shouted at plaintiff to

                         “stop” his car, shouted “you don’t know who I am” while further

                         indicating he had a gun all while driving his Toyota at the plaintiff

                         and his family at a high rate of speed.



                                  COUNT 1

                   42 U.S.C., Section 1983

                  v. Delgado, Leahy, Valentini



            25.          Plaintiff re-alleges and incorporates paragraphs 1 through 24 as if

                         set forth fully herein.

            26.          Plaintiff says he was the victim of abusive physical punishment

                         administered in a grossly disproportionate manner to whatever Erick

                         DeJesus’ acts might have been which resulted in physical harms and

                         which constituted cruel and unusual punishment thereby depriving

                         him of the right to due process of law under the laws and

                         constitution of the United States.

            27.          As a direct and proximate result of the above-described unlawful

                         and malicious acts of defendants Delgado, Leahy and

                         Valentini,which acts alleged herein were all committed under color



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                          of authority as a Police Officers and while acting in that capacity,

                          plaintiff suffered extreme and grievous bodily harm and pain which

                          required him to seek medical treatment and plaintiff suffers and still

                          suffers great pain, as well as humiliation, damage to his reputation

                          and psychological trauma.

            28.           The intentional acts of defendants described above were all

                          performed with malice and premeditation under color of state law

                          with willful and wanton disregard of plaintiff’s rights under the

                          Fourth, Fifth, Sixth, Eighth and Fourteenth Amendments of the

                          Constitution and in contravention of the letter and sprit of 42 U.S.C.

                          Section 1983.

            29.           As a direct and proximate result of these acts, plaintiff has suffered

                          great pain, both physical and mental, monetary loss, deprivation of

                          liberty, loss of ability to work and fully function as a member of his

                          family and community.

            WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

            over this matter and that it enter Judgment in favor of plaintiff and against

            defendants DelGado, Leahy and Valentini, in an amount to be determined by this

            Court, including but not limited to compensatory and punitive damages,

            compensation for his emotional pain and suffering, interest, costs, attorneys fees

            and any other such relief that this Court deems meet and just.




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                                           COUNT II

                   42 U.S.C., Section 1983

                  v. City of Holyoke

            30.    Plaintiff re-alleges and incorporates paragraphs 1 through 29 as if set forth

            fully herein.

            31.    By its action, inaction and deliberate indifference as set forth above, the

                   City of Holyoke knowingly, willfully and intentionally allowed a policey

                   and custom to exist which resulted in violations of plaintiff’s rights under

                   the United States Constitution and under the Massachusetts Declaration of

                   Rights, all in violation of 42 U.S.C., Section 1983.

            32.    As a direct result of the City of Holyoke’s violation of 42 U.S.C., Section

                   1983, plaintiff suffered great harm.



            WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

            over this matter and that it enter Judgment in favor of plaintiff and against

            defendant City of Holyoke, in an amount to be determined by this Court,

            including but not limited to compensatory and punitive damages, compensation

            for his emotional pain and suffering, interest, costs, attorneys fees and any other

            such relief that this Court deems meet and just.




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                                   COUNT V

                   ASSAULT AND BATTERY

                  v. Delgado



            33.    Plaintiff re-alleges and incorporates paragraphs 1 through 32 as if set forth

            fully herein.

            34.    The acts of defendant Delgado, described above, constituted an assault

            upon plaintiff, Erick DeJesus, in that defendant Delgado intentionally attempted

            to injure plaintiff or commit a battery upon him and further the act of the

            defendant represented a grievous affront to plaintiff, Erick DeJesus.

            35. Defendant Delgado’s acts constituted a battery upon the plaintiff, Erick

            DeJesus, in that the bodily contact described was intentional and grossly offensive

            in nature.

            36. The actions of defendant Delgado were intentional, reckless, unwarranted,

            without any just cause or provocation and defendant Delgado knew, or should

            have known, that his actions were without the consent of plaintiff, Erick Dejesus,

            and that such actions described were without his wishes.

            37. As a direct and proximate result of the acts of defendant Delgado, plaintiff,

            Erick DeJesus has suffered and still suffers severe physical and mental harms

            resulting from defendant Delgado’s assault and battery and has further suffered

            and will continue to suffer a great loss of enjoyment of life all to his great and

            permanent loss caused solely by the reason of conduct described by defendant

            Delgado.



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            WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

            over this matter and that it enter Judgment in favor of plaintiff and against

            defendant Delgado, in an amount to be determined by this Court, including but

            not limited to compensatory and punitive damages, compensation for his

            emotional pain and suffering, interest, costs, attorneys fees and any other such

            relief that this Court deems meet and just.



                                   COUNT VI

                   ASSAULT AND BATTERY

                  v. Leahy



            38.    Plaintiff re-alleges and incorporates paragraphs 1 through 37 as if set forth

            fully herein.

            39.    The acts of defendant Leahy, described above, constituted an assault upon

            plaintiff, Erick DeJesus, in that defendant Delgado intentionally attempted to

            injure plaintiff or commit a battery upon him and further the act of the defendant

            represented a grievous affront to plaintiff, Erick DeJesus.

            40. Defendant Leahy’s acts constituted a battery upon the plaintiff, Erick

            DeJesus, in that the bodily contact described was intentional and grossly offensive

            in nature.

            41. The actions of defendant Leahy were intentional, reckless, unwarranted,

            without any just cause or provocation and defendant Leahy knew, or should have

            known, that his actions were without the consent of plaintiff, Erick Dejesus, and

            that such actions described were without his wishes.



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            42. As a direct and proximate result of the acts of defendant Leahy, plaintiff,

            Erick DeJesus has suffered and still suffers severe physical and mental harms

            resulting from defendant Delgado’s assault and battery and has further suffered

            and will continue to suffer a great loss of enjoyment of life all to his great and

            permanent loss caused solely by the reason of conduct described by defendant

            Delgado.



            WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

            over this matter and that it enter Judgment in favor of plaintiff and against

            defendant Leahy, in an amount to be determined by this Court, including but not

            limited to compensatory and punitive damages, compensation for his emotional

            pain and suffering, interest, costs, attorneys fees and any other such relief that this

            Court deems meet and just.




                                   COUNT VII

                   ASSAULT AND BATTERY

                  v. Valentini



            43.    Plaintiff re-alleges and incorporates paragraphs 1 through 42 as if set forth

            fully herein.

            44.    The acts of defendant Valentini, described above, constituted an assault

            upon plaintiff, Erick DeJesus, in that defendant Delgado intentionally attempted




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            to injure plaintiff or commit a battery upon him and further the act of the

            defendant represented a grievous affront to plaintiff, Erick DeJesus.

            45. Defendant Valentini’s acts constituted a battery upon the plaintiff, Erick

            DeJesus, in that the bodily contact described was intentional and grossly offensive

            in nature.

            46. The actions of defendant Valentini were intentional, reckless, unwarranted,

            without any just cause or provocation and defendant Delgado knew, or should

            have known, that his actions were without the consent of plaintiff, Erick Dejesus,

            and that such actions described were without his wishes.

            47. As a direct and proximate result of the acts of defendant Valentini, plaintiff,

            Erick DeJesus has suffered and still suffers severe physical and mental harms

            resulting from defendant Valentini’s assault and battery and has further suffered

            and will continue to suffer a great loss of enjoyment of life all to his great and

            permanent loss caused solely by the reason of conduct described by defendant

            Valentini.



            WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

            over this matter and that it enter Judgment in favor of plaintiff and against

            defendant Valentini, in an amount to be determined by this Court, including but

            not limited to compensatory and punitive damages, compensation for his

            emotional pain and suffering, interest, costs, attorneys fees and any other such

            relief that this Court deems meet and just.




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                                   COUNT V

                   ASSAULT

                  v. Delgado



            48.    Plaintiff re-alleges and incorporates paragraphs 1 through 47 as if set forth

            fully herein.

            49.    The acts of defendant Delgado on September 19, 2013, described above,

            constituted an assault upon plaintiff, Erick DeJesus, in that defendant Delgado

            intentionally attempted to cause apprehension and fear in plaintiff after this action

            was filed and further the actions of the defendant represented a grievous affront to

            plaintiff, Erick DeJesus.

            50. Defendant Delgado’s actions were performed with ill will and malice and

            have constituted an assault upon the plaintiff, Erick DeJesus, in that defendant’s

            continuation of assaultive conduct against plaintiff after plaintiff has filed a

            complaint have been intentional and grossly offensive in nature.

            51. The actions of defendant Delgado were intentional, reckless, unwarranted,

            without any just cause or provocation and defendant Delgado knew, or should

            have known, that his actions were without the consent of plaintiff, Erick Dejesus,

            were likely to cause him great fear of harm and that such actions described were

            without his wishes.

            52. As a direct and proximate result of the acts of defendant Delgado, plaintiff,

            Erick DeJesus has suffered extreme fear and still suffers severe mental harms

            resulting from defendant Delgado’s assault and and has further suffered and will

            continue to suffer a great loss of enjoyment of life all to his great and permanent




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             loss caused solely by the reason of conduct further described by defendant

             Delgado.



             WHEREFORE, Plaintiff, Erick DeJesus, prays that this Court assume jurisdiction

             over this matter and that it enter Judgment in favor of plaintiff and against

             defendant Delgado, in an amount to be determined by this Court, including but

             not limited to compensatory and punitive damages, compensation for his

             emotional pain and suffering, interest, costs, attorneys fees and any other such

             relief that this Court deems meet and just.



                                     JURY DEMAND



      The Plaintiff demands a jury as to all issues so triable


                                                 Dated this _14th day of April, 2014


                                                 FOR THE PLAINTIFF
                                                 ERICK DEJESUS
                                                 By His Attorney,


                                                 /s/ Jeanne A. Liddy

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